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                  UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE THE HONORABLE STEPHEN A. VADEN, JUDGE

_______________________________________
                                       )
CHENG SHIN RUBBER IND. CO. LTD.,       )
                                       )
                  Plaintiff,           )          PUBLIC VERSION
                                       )
                  v.                   )          Court No. 21-00398
                                       )
                                       )          Business Proprietary Information
UNITED STATES,                         )          Deleted from Brackets on Pages 6-8,
                                       )          11, 13, and 14
                  Defendant,           )
                                       )
UNITED STEEL, PAPER AND FORESTRY, )
RUBBER, MANUFACTURING, ENERGY, )
ALLIED INDUSTRIAL AND SERVICE          )
WORKERS INTERNATIONAL UNION,           )
AFL-CIO, CLC,                          )
                                       )
            Defendant-Intervenor.      )
_______________________________________)




   DEFENDANT-INTERVENOR’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
          MOTION FOR JUDGMENT ON THE AGENCY RECORD




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                                    CIO, CLC
April 12, 2022
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       Defendant-Intervenor the United Steel, Paper and Forestry, Rubber, Manufacturing,

Energy, Allied Industrial and Service Workers International Union AFL-CIO, CLC (“USW”)

respectfully submits this response in opposition to the motion for judgment on the agency record

filed by Plaintiff Cheng Shin Rubber Ind. Co. Ltd. (“Cheng Shin”) in the above-captioned action.

Cheng Shin contests one aspect of the U.S. Department of Commerce’s (“Commerce”) final

determination in the antidumping investigation of passenger vehicle and light truck (“PVLT”)

tires from Taiwan.1 Specifically, Cheng Shin challenges Commerce’s determination not to

exclude certain alleged “out-of-scope” tires from its dumping calculations for Cheng Shin. The

USW fully supports Commerce’s decision on this issue and requests the Court to sustain the final

determination in its entirety. As explained below, the Court should deny Cheng Shin’s motion for

judgment on the agency record because it has failed to demonstrate that Commerce’s final

determination is unsupported by substantial evidence or otherwise not in accordance with law.

                         STATEMENT PURSUANT TO RULE 56.2

I.     ADMINISTRATIVE DETERMINATION UNDER REVIEW

       The administrative determination under review is Commerce’s final determination in the

antidumping investigation of PVLT tires from Taiwan. Passenger Vehicle and Light Truck Tires

From Taiwan: Final Affirmative Determination of Sales at Less Than Fair Value, 86 Fed. Reg.

28,563 (Dep’t Commerce May 27, 2021) (“Final Determination”) (Appx16316-16319), and

accompanying Issues and Decision Memorandum (“IDM”) (Appx15958-15995).




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       The brief accompanying Cheng Shin’s motion is hereinafter referred to as “Cheng Shin
       Br.” (ECF Nos. 42-1 and 43-1).

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II.    ISSUES PRESENTED FOR REVIEW

       Whether Commerce’s determination not to exclude certain alleged “out-of-scope” tires

from Cheng Shin’s margin calculation is supported by substantial evidence and in accordance

with law.

                                    STATEMENT OF FACTS

       On May 13, 2020, the USW filed a petition for the imposition of antidumping duties on

PVLT tires from Taiwan. The scope of the petition covered all tires with a PVLT size

designation, with certain exceptions. Petition, Volume I (May 23, 2020) at 10 – 14 (Appx1020-

1024). One of these exceptions was for tires designed and marketed exclusively as temporary use

spare tires for passenger vehicles that met certain physical characteristics. Id. at 11 (Appx1021).

There was no such exception for dual-use spare tires or for spare tires for light trucks. Id. at 10 –

14 (Appx1020-1024).

       Commerce initiated the investigation on June 29, 2020. See Passenger Vehicle and Light

Truck Tires From the Republic of Korea, Taiwan, Thailand, and the Socialist Republic of

Vietnam: Initiation of Less-Than-Fair-Value Investigations, 85 Fed. Reg. 38,854 (Dep’t

Commerce June 29, 2020) (Appx4103-4109). In the initiation notice, Commerce set deadlines

for comments and rebuttal comments on the scope of the investigation. Id. at 38,855

(Appx4104). Commerce also set deadlines for comments and rebuttal comments on product

characteristics, i.e., the characteristics that respondents would use to classify each model of

subject merchandise in their questionnaire responses in order to report the relevant costs of

production accurately, as well as to develop appropriate product-comparison criteria for the

purposes of matching products in order to calculate dumping margins. Id. (Appx4104).




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       Scope Exclusion for Light Truck Spare Tires

       On July 20, 2020, Cheng Shin filed comments on the scope of the investigation, seeking

to add an exclusion for “reduced tread depth … temporary use spare tires (‘light truck spare

tires’).” Cheng Shin Scope Comments (July 20, 2020) at 2 (Appx4369). As explained in that

submission, the “only difference” between spare tires for passenger vehicles and light truck spare

tires was a few millimeters of tread depth. Id. at 4 – 5 (Appx4371-4372).

       On September 25, 2020, the USW filed a response to Cheng Shin’s scope comments.

USW Scope Response (Sept. 25, 2020) (Appx8596-8610). The USW did not agree to the

exclusion language proposed by Cheng Shin. Id. (Appx8596-8610). The USW could only agree

to an exclusion for light truck spare tires if the exclusion specified that the tires be “designed and

marketed exclusively as temporary use spare tires for light trucks,” and also required the tires to

meet four specific physical characteristics. Id. at 5. (Appx8600). At that point in time, the USW

was not privy to any information establishing that the tires that were the focus of Cheng Shin’s

request were in fact “designed and marketed exclusively as temporary use spare tires for light

trucks,” but the petitioner wanted to ensure that the exclusion was limited to such tires. As such,

the USW response explicitly notes that Cheng Shin “avers” that the tires referenced in its request

are designed and marketed exclusively for light trucks. Id. (Appx8600). Whether any specific

tires exported by Cheng Shin – or any other party – would in fact meet the terms of the exclusion

was not a matter addressed in the scope comments.

       On January 6, 2021, Commerce published the preliminary results of the investigation.

Passenger Vehicle and Light Truck Tires From Taiwan: Preliminary Affirmative Determination

of Sales at Less Than Fair Value, Postponement of Final Determination, and Extension of

Provisional Measures, 86 Fed. Reg. 508 (Dep’t Commerce Jan. 6, 2021) (Appx12941-12944).



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Commerce preliminarily accepted the exclusion for light truck spare tires, adopting the language

proposed by the USW. Id. at 510. (Appx12943). The exclusion language for light truck spare

tires was maintained without change in the final determination and in the scope of the resulting

antidumping order. Final Determination at 28,565 (Appx16318). See also Passenger Vehicle and

Light Truck Tires From the Republic of Korea, Taiwan, and Thailand: Antidumping Duty Orders

and Amended Final Affirmative Antidumping Duty Determination for Thailand, 86 Fed. Reg.

38,011, 38,013 (Dep’t Commerce July 19, 2021) (“Order”) (Appx16350, Appx16352).

       Cheng Shin’s Questionnaire Responses

       On July 20, 2020, the USW filed comments on the product characteristics that should be

used in questionnaire responses to organize different models of tires into different control

numbers, or “CONNUMs.” USW Product Characteristic Comments (July 20, 2020) (Appx4218-

4321). The USW recommended that Commerce rely on the same 15 characteristics that had

already been developed and employed in previous antidumping proceedings on PVLT tires from

China. Id. at 2 (Appx4219). The USW also recommended that Commerce place the

characteristics in the same hierarchy, so that the first characteristic be deemed the most important

for matching tire types in the dumping margin calculations, while the last characteristic would be

the least important. Id. (Appx4219). The first product characteristic used in the China

proceedings was “Tire Service Type,” “as identified in the … TRA {Tire and Rim Association}

Year Book.” Id. at Att. 1 (Appx4227). Tire service type had three reporting options: 1) Passenger

Car, 2) Light Truck, and 3) Special Trailer. Id. (Appx4227).

       On July 20, 2020, Cheng Shin filed its own comments regarding product characteristics.

Cheng Shin Product Characteristic Comments (July 20, 2020) (Appx4346-4364). Relevant to

this appeal, Cheng Shin requested that a fourth tire service type be added to the tire service type



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field for “Light Truck Full Size Spare (with reduce tread depth).” Id. at 2 (Appx4347). Cheng

Shin’s proposal also suggested that the reference to the TRA Year Book not apply to light truck

spare tires. Id. (Appx4347).

       On July 30, 2020, the USW filed rebuttal comments on product characteristics. USW

Product Characteristic Rebuttal Comments (July 30, 2020) (Appx6088-6142). The USW

objected to Cheng Shin’s request to add a new light truck spare tire category in the tire service

type field, noting that the only difference Cheng Shin identified for these “full size” spare tires

was their tread depth, and tread depth was already accounted for in a field further down the

product characteristic hierarchy. Id. at 10 (Appx6097). The USW explained: “Adding another

service category for tires with ‘reduced’ tread depth is unnecessary and would create

opportunities for manipulation, as there is no definition of how much the tread depth would need

to be reduced before the tire could be reported as a wholly difference service type.” Id.

(Appx6097). The USW further noted: “As service type is the first characteristic in the hierarchy,

reporting tires as different service types would normally be determinative on matching,

regardless of the level of difference in tread depth for otherwise similar tires.” Id. at 10, n.36

(Appx6097).

       On August 18, 2020, Commerce released the product characteristics that respondents

were directed to report in their questionnaire responses. Commerce Product Characteristics

Memo (Aug. 18, 2020) (Appx6935-6945). Consistent with its practice in the proceedings on

PVLT tires from China and the USW’s request, Commerce adopted as the first – and thus most

important – product characteristic “Tire Service Type” as identified in the TRA Year Book. Id. at

Att., p.1 (Appx6937). Commerce rejected Cheng Shin’s request and maintained only three

service types in this field. Id. (Appx6937). PVLT tires with a passenger vehicle service type



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would be reported under a CONNUM starting with 01, tires for light truck service would be

reported under a CONNUM starting with 02, and special trailer tires would be reported under a

CONNUM starting with 03. Id. (Appx6937).

        In its questionnaire responses, Cheng Shin chose to report a code of “01” (for “passenger

car”) in the “Tire Service Type” field for its sales of light truck spare tires, based on the fact that

these tires had the same general characteristics, such as size and load capacity, as passenger car

tires. Cheng Shin Br. at 12 – 13. The CONNUMs reported for these tires were

[                                                                          ]. Commerce Final Cheng

Shin Calculation Memorandum (May 21, 2021) (“Final Calc Memo”) at 4 – 5 (Appx16029-

16030; Appx100652-100653). In its first Section B response, Cheng Shin provided a

concordance table setting out the CONNUM coding of each product and its own product codes

and descriptions of each product. Cheng Shin Sec. B Resp. (Sept. 25, 2020) at B-10 – B-12 and

Ex. B-4.a (Appx8632-8634, Appx8721-8802; Appx85351-85353, Appx85440-85521). Cheng

Shin further stated that its light truck spare tires were marked with a “Category” of “GSP” in the

table, for “ground spare products.” Id. at B-12 (Appx8634; Appx85353).

        Commerce included these tires in its preliminary dumping calculations, and it rejected

claims by Cheng Shin that their inclusion constituted a ministerial error. Commerce Ministerial

Error Memorandum (Feb. 3, 2021) at 5 – 6 (Appx13097-13098).

        After the preliminary determination, Commerce issued a questionnaire to Cheng Shin in

lieu of verification due to the COVID-19 pandemic. Commerce In-Lieu-of-Verification

Questionnaire for Cheng Shin (Feb. 25, 2021) (Appx13263-13269). Commerce asked Cheng

Shin to provide a detailed explanation as to how the CONNUMs in question met the criteria for

the exclusion for light truck spare tires, along with evidence to support its claim. Id. at Question



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7 (Appx13267-13268). In response, Cheng Shin provided purchase agreements and technical

drawings for the tires and [                                    ]. Cheng Shin In-Lieu-of-

Verification Questionnaire Response (Mar. 8, 2021) at VE-10 – VE-11 and Exhibits VE-7A and

VE-7B (Appx14648-14649, Appx17162-17177; Appx97831-97832, Appx100345-100360).

       In the final determination, Commerce continued to include these tires in its margin

calculations for Cheng Shin. IDM at Comment 4 (Appx159976-159978). Commerce noted that

the tire service type Cheng Shin reported for these CONNUMs was not for light trucks, and thus

the tires “could not have been designed and marketed exclusively for light trucks,” as required by

the exclusion language in the scope. Id. (Appx159976). Commerce did not find the information

contained in Cheng Shin’s ILOV questionnaire to be convincing, noting that the exhibit

proffered to support its claim that the tires are in fact designed and marketed exclusively for light

trucks “was not generated as part of Cheng Shin’s normal course of business and Commerce

does not find it persuasive.” Id. (Appx159977). Commerce further found that the purchase

agreements and technical drawings Cheng Shin provided “do not indicate a light truck design

exclusivity.” Id. (Appx159977). Finally, Commerce found that the concordance table provided

with Cheng Shin’s Section B response also did not support its claims. Id. (Appx159977). Further

confidential analysis supporting Commerce’s analysis was contained in the confidential

calculation memorandum issued with the final results for Cheng Shin. Id. (Appx159977). See

also Final Calc Memo at 4 – 5 (Appx16029-16030; Appx100652-100653).

       The order on PVLT tires from Taiwan was published on July 19, 2021. Order

(Appx16350-16352). This appeal followed.

                                 SUMMARY OF ARGUMENT

       This Court should uphold Commerce’s determination not to exclude certain alleged “out-

of-scope” tires from Cheng Shin’s margin calculation. The USW, the petitioner, agreed during
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the investigation to accept a narrowly drawn scope exclusion for PVLT tires “designed and

marketed exclusively as temporary use spare tires for light trucks,” that also displayed certain

enumerated physical characteristics. Cheng Shin failed to demonstrate that the tires in question

were in fact “designed and marketed exclusively as temporary use spare tires for light trucks,”

and Commerce thus appropriately included them in Cheng Shin’s margin program.

        This decision was supported by substantial evidence. First, Cheng Shin itself consistently

classified the tires in question as passenger car tires, not light truck tires, throughout the

investigation. Second, as noted in Cheng Shin’s brief, the tires in question “… had the same

general characteristics as passenger-car tires … (i.e., size and load capacity).” Cheng Shin Br. at

12 – 13. These similarities made it all the more important for the chapeau of the exclusion to be

strictly enforced, or else subject passenger car tires could be entered as non-subject light truck

spare tires and evade duty liability.

        Third, the purchase agreements and technical drawings submitted by Cheng Shin, when

viewed in their totality, [

    ]. Fourth, the only document on the record that purported to show that the tires were

designed and marketed exclusively as temporary use spare tires for light trucks was [



            ]. Commerce properly found that this document was not generated in the normal

course of business, but solely to influence the outcome of the investigation, and therefore was

not persuasive.

        Finally, Cheng Shin’s argument that Commerce impermissibly changed the scope of the

proceeding is based on the erroneous assumption that Cheng Shin had in fact established that its

tires met all of the terms of the exclusion. As explained in more detail below, Cheng Shin failed



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to do so. As such, Commerce’s decision not to exclude the tires from its calculations was

reasonable and supported by substantial evidence. Its determination should therefore be upheld.

                                          ARGUMENT

I.     STANDARD OF REVIEW

       The standard of review requires that the Court sustain any determination, finding, or

conclusion by Commerce unless it is “unsupported by substantial evidence on the record, or

otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). The substantial evidence

standard requires “such relevant evidence as a reasonable mind might accept as adequate to

support a conclusion.” Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229 (1938). Substantial

evidence is “more than a mere scintilla,” but “less than the weight of the evidence.” Altx, Inc. v.

United States, 370 F.3d 1108, 1116 (Fed. Cir. 2004). The substantial evidence standard requires

the Court to assess whether the administrative determination under review is reasonable given

the record as a whole. Nippon Steel Corp. v. United States, 458 F.3d 1345, 1350-51 (Fed. Cir.

2006). Importantly, “the possibility of drawing two inconsistent conclusions from the evidence

does not prevent an agency’s finding from being supported by substantial evidence.” Consolo v.

Fed. Mar. Comm’n, 383 U.S. 607, 620 (1996). A party challenging an agency determination

under the substantial evidence standard “has chosen a course with a high barrier to reversal.”

Mitsubishi Heavy Indus., Ltd. v. United States, 275 F.3d 1056, 1060 (Fed. Cir. 2001).

       Commerce’s determination is in accordance with law if it has met all constitutional,

statutory, regulatory, and procedural requirements. Huvis Corp. v. United States, 525 F. Supp. 2d

1370, 1374 (Ct. Int’l Trade 2007) (citing FCC v. NextWave Pers. Commc’ns, Inc., 537 U.S. 293,

300 (2003)). When determining whether Commerce’s interpretation and application of the statute

is in accordance with law, the Court applies the two-step analysis established in Chevron U.S.A.,

Inc. v. Natural Resources Defense Council, 467 U.S. 837 (1984). The Court first examines
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“whether Commerce has directly spoken to the precise question at issue,” and, if it has, the

agency must comply with Congress’s clear intent. Id. at 842-43. If, however, “the statute is silent

or ambiguous with respect to the specific issue, the question for the court is whether the agency’s

answer is based on a permissible construction of the statute.” Id. at 843.

       The agency’s statutory construction need not be the only permissible one, or even one the

Court would have reached if the issue initially had arisen in a judicial proceeding. Id. Rather,

“{a}ny reasonable construction of the statute is a permissible construction,” Timken Co. v.

United States, 354 F.3d 1334, 1342 (Fed. Cir. 2004), and Commerce’s “interpretation governs in

the absence of unambiguous statutory language to the contrary or unreasonable resolution of

language that is ambiguous.” United States v. Eurodif S.A., 555 U.S. 305, 316 (2009). Where

Congress has explicitly left a gap for the agency to fill, there has been an “express delegation of

authority to the agency to elucidate a specific provision of the statute by regulation” and the

ensuing legislative rules “are given controlling weight unless they are arbitrary, capricious, or

manifestly contrary to the statute.” Chevron, 467 U.S. at 843-44; see also Nat’l Organization of

Veterans Advocates, Inc. v. Sec’y of Veterans Affairs, 809 F.3d 1359, 1364 (Fed. Cir. 2016).

II.    COMMERCE’S DETERMINATION NOT TO EXCLUDE ALLEGED “OUT-OF-
       SCOPE” TIRES FROM CHENG SHIN’S MARGIN CALCULATION IS IN
       ACCORDANCE WITH LAW AND SUPPORTED BY SUBSTANTIAL
       EVIDENCE

       A.      Commerce Reasonably Relied on Cheng Shin’s Own Reporting in its
               Questionnaire Responses to Find the Tires Were Not Out-of-Scope

       Cheng Shin admits that it chose to report the alleged out-of-scope tires as passenger car

tires in its questionnaire response. Cheng Shin Br. at 12 – 13. As Commerce correctly noted, this

fact alone was sufficient reason to find that the tires did not qualify for the exclusion for light

truck spare tires, which only applies to tires “designed and marketed exclusively as temporary

use spare tires for light trucks.” IDM at Comment 4 (Appx159976-159978). As Commerce

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explained, “{t}hroughout its questionnaire responses, Cheng Shin has consistently reported in

its sales data that these model tires are not for light truck service.” Id. at 19 (Appx159976).

Cheng Shin has never explained how these tires could be designed and marketed exclusively for

light trucks when they were reported as not being for light truck service.

       To the contrary, Cheng Shin actually emphasizes in its brief how similar the alleged light

truck spare tires were to passenger vehicle tires. Cheng Shin states that its “temporary-use light-

truck spare tire models had the same general characteristics as passenger-car tires identified in

the TRA (i.e., size and load capacity) ….” Cheng Shin Br. at 12 – 13. As noted above, tire

service type was the first, and thus the most important, product characteristic in the

questionnaire. Commerce’s reliance on Cheng Shin’s own reporting regarding the most

important feature of its tires was reasonable and should be upheld.

       Cheng Shin claims that the concordance table provided with its Section B response was

sufficient to demonstrate that the tires in question were actually light truck spare tires even

though Cheng Shin classified them at passenger car tires. Cheng Shin Br. at 13. The cited table,

however, [

   ]. Cheng Shin states that its light truck spare tires were marked with a “Category” of “GSP”

in the concordance table, for “ground spare products.” Cheng Shin Sec. B Resp. (Sept. 25, 2020)

at B-12 (Appx8634; Appx85353). Yet the table [

                                                                                ]. Id. at Table B-4.a

(Appx8721-8802; Appx85440-85521). Thus, nothing in the table establishes that the tires in

question met the exclusion for light truck spare tires.

       Cheng Shin attempts to confuse the issue by arguing that Commerce impermissibly

brought dual use spare tires within the scope when the scope excludes both passenger car spare



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tires and light truck spare tires. Cheng Shin Br. at 19 – 20. Cheng Shin is incorrect. Each of those

exclusions have their own criteria both in terms of exclusive design and marketing as well as

distinct physical characteristics.

                                     Scope Exclusions for Spare Tires

 Passenger Car Spare Tires                           Light Truck Spare Tires
 tires designed and marketed exclusively             tires designed and marketed exclusively
 as temporary use spare tires for passenger          as temporary use spare tires for light trucks
 vehicles which, in addition, exhibit each of        which, in addition, exhibit each of the
 the following physical characteristics:             following physical characteristics:
 (a) The size designation and load index             (a) The tires have a 265/70R17, 255/80R17,
 combination molded on the tire’s sidewall           265/70R16, 245/70R17, 245/75R17, 245/
 are listed in Table PCT–1R (“T” Type Spare          70R18, or 265/70R18 size designation;
 Tires for Temporary Use on Passenger                (b) “Temporary Use Only” or “Spare” is
 Vehicles) or PCT–1B (“T” Type Diagonal              molded into the tire’s sidewall;
 (Bias) Spare Tires for Temporary Use on             (c) the tread depth of the tire is no greater
 Passenger Vehicles) of the Tire and Rim             than 6.2 mm; and
 Association Year Book,                              (d) Uniform Tire Quality Grade Standards
 (b) the designation “T” is molded into the          (“UTQG”) ratings are not molded into the
 tire’s sidewall as part of the size designation,    tire’s sidewall with the exception of 265/
 and,                                                70R17 and 255/80R17 which may have
 (c) the tire’s speed rating is molded on the        UTQG molded on the tire sidewall
 sidewall, indicating the rated speed in MPH
 or a letter rating as listed by Tire and Rim
 Association Year Book, and the rated speed
 is 81 MPH or a ‘‘M’’ rating


See Order at 38,013 (Appx16352). It is not possible for a dual use spare tire to meet either

exclusion. Nor can the same tire qualify for both exclusions.

        Nor was it necessary for the scope language to specifically address dual use tires in order

for Commerce to determine that they were covered, as Cheng Shin suggests. Cheng Shin Br. at

19 – 20. The tires are indisputably tires “with a passenger vehicle or light truck size designation,”

and thus they are covered by the order absent a specific exclusion. Order at 38,012

(Appx16351). In short, Cheng Shin has failed to demonstrate that Commerce erred by relying on

Cheng Shin’s own classification of the tires as passenger car tires to determine that they did not

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qualify for the exclusion for light truck spare tires. Commerce’s determination was reasonable

and supported by substantial evidence, and it should therefore be sustained.

       B.      Commerce’s Determination that the Tires Were Not Designed and Marketed
               Exclusively for Light Trucks Is Supported by Substantial Evidence

       Commerce’s determination was further supported by the record evidence Cheng Shin

submitted in its in-lieu-of-verification (“ILOV”) questionnaire response. Cheng Shin submitted

information purporting to show that the tires were designed and ordered for [                   ] as

spare tires for light truck models. Cheng Shin ILOV Questionnaire at VE-10 (Appx14648;

Appx97831). The purchase agreements provided, while [

                                                     ]. Id. at Exhibit-VE-7A (Appx100345-

100358). [

                            ]. Id. (Appx100350). [

                       ]. Id. (Appx100352, Appx100354). In addition, [

                                                                       ]. Id. (Appx100352,

Appx100354, Appx100357). Based on this evidence, Commerce reasonably concluded that the

documents submitted by Cheng Shin “clearly show the models in question can be used for either

light trucks or passenger cars.” IDM at 20 (Appx159977). See also Final Calc Memo at 5

(Appx16030; Appx100653).

       Cheng Shin [

                                                                                            ]

Cheng Shin ILOV Questionnaire at Exhibit-VE-7B (Appx100360). Yet, [

                                                                                                ]. Id.

(Appx100360). In addition, [




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                                            ] Id. (Appx100360). In short, [




                                                                                          ].

       Commerce reasonably discounted this document, explaining “it was not generated as part

of Cheng Shin’s normal course of business and Commerce does not find it persuasive in light of

the evidence on the record, which demonstrates that the tires were designed for both passenger

cars and light trucks.” Final IDM at 20 (Appx159977). See also Final Calc Memo at 5

(Appx16030; Appx100653). As the administering agency, it is Commerce’s prerogative to weigh

the evidence in the first instance, and its determination that an [

                                                                       ] was not persuasive is

reasonable and warrants deference from this Court.

       C.      Commerce Did Not Unlawfully Change the Scope of the Order

       Cheng Shin claims that Commerce’s decision not to exclude the alleged out-of-scope

tires from its dumping calculations impermissibly changed the scope of the order. Cheng Shin

Br. at 28 – 29. This argument is predicated on the assumption that Cheng Shin’s tires did in fact

meet the terms of the exclusion, an assumption that, as reviewed above, Commerce reasonably

found was not warranted based on all of the facts on the record.

       Cheng Shin also mischaracterizes the position of the petitioner with regard to the scope

exclusion language for light truck spare tires. Cheng Shin Br. at 27 – 28. The USW at no time

conceded that Cheng Shin’s tires met all of the terms of the exclusion. While the USW offered to

agree to exclusion language to address the tires with the physical characteristics identified by

Cheng Shin, the USW also added the requirement in the chapeau that the tires be “designed and

marketed exclusively as temporary use spare tires for light trucks.” USW Scope Response (Sept.
                                                  14
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25, 2020) at 5 (Appx8600). The USW was not privy to any information establishing that the tires

that were the focus of Cheng Shin’s request were in fact “designed and marketed exclusively as

temporary use spare tires for light trucks.” As such, the USW response explicitly noted that

Cheng Shin “avers” that the tires referenced in its request are designed and marketed exclusively

for light trucks. Id. (emphasis added) (Appx8600). Petitioner only agreed that tires that met these

requirements could be excluded – petitioner never agreed that the specific tires identified by

Cheng Shin actually met each of the requirements of the exclusion, particularly the design and

marketing requirements. Cheng Shin’s attempts to allege otherwise are unavailing and should be

rejected.

                                         CONCLUSION

       For the foregoing reasons, the USW respectfully requests that the Court deny the

plaintiff’s motion for judgment on the agency record and sustain Commerce’s final

determination as supported by substantial evidence and in accordance with law.

                                                     Respectfully submitted,

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Date: April 12, 2022




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                             CERTIFICATE OF COMPLIANCE

        The undersigned counsel at Schagrin Associates hereby certifies that the Response

Brief of United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and

Service Workers Union, AFL-CIO, CLC, dated April 12, 2022 complies with the Standard

Chambers Procedures of the U.S. Court of International Trade that it contains 4,985 words,

including accompanying motion, text, headings, table of contents, table of authorities and

counsel’s signature block, according to the word count function of Microsoft Word used to

prepare this brief.


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